Case 0o-U0-/424/-adte DOC 1-L Filed Vo/OV0/Uo Entered Vo/Q0/06 OYIOF06

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re:

Seth Muraskin Case No.

Chapter 7

Debtor(s}

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the creditor matrix/list
of creditors submitted herein is true and correct to the best of his or her knowledge.

Dated:

Seth Mutaskin
Debtor

Mare A. Pergament
Attomey for Debtor

USBC-44 Rev. 3/17/05
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